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                            UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT~. ~RK

                                                             "'v vV
  AKHMED GADZHIEVICH BILALOV, an individual,

                            Plaintiff,                              Civil Action No.



   - against-
                                                                         [PROPOSED ORDER]

                                                                        (FILED UNDER SEAL)
   HERMAN GREF and KIRILL ANDROSOV,

                      Defendants




        Upon the motion of Plaintiffs for an order permitting the filing of the Complaint, summons, civil
 cover sheet, and Motion for Leave to File Complaint as under seal, and upon review of the motion and
 memorandum of law in support thereof, it is hereby

      ORDERED that Plaintiffs' Ex Parte Motion for Leave to File Complaint and
 Accompanying Papers Under Seal be GRANTED, and it is

        FURTHER ORDERED, that the Complaint, summons, civil cover sheet, and Motion for Leave
to File Complaint under seal, and all other accompanying filings in this action shall be placed under
seal until s-och time as proof of.&efviee-0f-the-sttmmons and-€mnplaintn, r etm ned and fited-by Plaintiffs~
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Dated: New York, New York
       October_ _~ 2020

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